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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA
   ex rel. PAULA C. LORONA and REID
   POTTER,

           Plaintiffs-Relators,
                                                        Case No. 3:15-cv-959-J-34JRK
   v.

   INFILAW CORPORATION, a Delaware
   Corporation, et al.,

           Defendants.
                                                /

   UNOPPOSED MOTION FOR A 14 DAY EXTENSION OF TIME TO RESPOND TO
   INFILAW CORPORATION, ARIZONA SUMMIT LAW SCHOOL, LLC, FLORIDA
     COASTAL SCHOOL OF LAW, AND CHARLOTTE SCHOOL OF LAW, LLC’S
                         MOTION TO DISMISS

           Pursuant to Federal Rule of Civil Procedure 6(b), Plaintiffs-Relators United States of

   America ex. rel. Paula C. Lorona and Reid Potter (“Relators”), by and through undersigned

   counsel, hereby moves for fourteen (14) day (two weeks) extension of time to respond to

   Infilaw Corporation, Arizona Summit Law School, LLC, Florida Coastal School of Law, and

   Charlotte School of Law, LLC’s (collectively “Infilaw Defendants”) Motion to Dismiss, and

   as grounds therefore, Relators state:

        1. On October 22, 2018, Infilaw Defendants filed their Motion to Dismiss &

           Memorandum of Law. (Doc. 56).

        2. On November 6, 2018, the Court granted the Relators’ Unopposed Motion for a 28-

           Day Extension of Time to Respond to Infilaw Corporation, Arizona Summit Law

           School, LLC, Florida Coastal School of Law, and Charlotte School of Law, LLC's

           Motion to Dismiss and Leave to File Response to Motion to Dismiss in Excess of 20


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           Pages. (Doc. 62). The Court ruled that the Relators shall have up to and including

           December 3, 2018, to file a response to [56] Defendants' Motion to Dismiss, not exceed

           thirty-three (33) pages in length. Id.

        3. Counsel for Relators conferred with counsel for Infilaw Defendants, and Infilaw

           Defendants have consented to allowing Relators to have until December 17, 2018 to

           file a Response to Infilaw Defendants’ Motion to Dismiss.

        4. The Court has the authority to extend the time for Relators to respond to the Motion to

           Dismiss. See Fed. R. Civ. P. 6(b)(1)(A). This Motion is not being made for the purpose

           of delay, and no parties will be prejudiced by the brief extension requested.

        5. Wherefore, Relators respectfully request an order (1) extending the deadline for

           Relators to respond to Infilaw Defendants’ Motion to Dismiss up to and including

           December 17, 2018, and (2) granting any other relief it deems just and proper.

                                LOCAL RULE 3.01(G) CERTIFICATION

                   Pursuant to Local Rule 3.01(g), undersigned counsel for Relators hereby

           certifies that counsel for Relators conferred with Infilaw Defendants’ counsel regarding

           the relief requested in this Motion, and the Infilaw Defendants do not oppose the relief

           requested herein.

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         RESPECTFULLY SUBMITTED this 3rd day of December 2018.



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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 3rd day of December 2018, I electronically filed the

   foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice

   of electronic filing to the following:


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